Case 4:18-cr-00011-MFU-RSB Document 1186 Filed 01/23/20 Page 1 of 3 Pageid#: 10526



                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                  HARRISONBURG DIVISION

    UNITED STATES OF AMERICA

    v.                                                 Case No. 4:18-CR-11

    SHANICQUA LATRICE COLEMAN


                      GOVERNMENT’S SENTENCING MEMORANDUM

          The United States of America, pursuant to the factors set forth in 18 U.S.C. § 3553(a) and

   for the reasons stated below, moves this Court to impose the following sentence: a term of

   supervised release of one year, no fine, and a $100 mandatory special assessment. This

   recommendation is identical to the recommendation proposed by the defendant in her Sentencing

   Memorandum. (ECF No. 1185).

   I.     PROCEDURAL HISTORY

          On April 19, 2019, the defendant, Shanicqua Latrice Coleman (“Coleman”) pled guilty to

   Count 25 of the First Superseding Indictment, pursuant to a Rule 11(c)(1)(C) Plea Agreement.

   ECF No. 434. Count 25 alleged a violation of 18 U.S.C. §1623, Making a False Declaration to a

   Grand Jury. ECF No. 207. The Rule 11(c)(1)(C) Plea Agreement called for a sentence between

   0-36 months. ECF No. 435. The Court accepted the guilty plea, ordered the preparation of a

   Presentence Report, and permitted the defendant to remain on bond.

          Sentencing is scheduled for January 30, 2020. ECF No. 1168.

   II.    SENTENCING GUIDELINES

          The parties have not received a Presentence Report. The United States believes that given

   the circumstances of this case and the proposed disposition, which is agreed upon by the parties,

                                                   1
Case 4:18-cr-00011-MFU-RSB Document 1186 Filed 01/23/20 Page 2 of 3 Pageid#: 10527



   the preparation of such a report is unnecessary. The United States believes that the applicable

   advisory Sentencing Guideline (USSG) range in this case is 70-87 months. For perjury (18

   U.S.C. §1623) the applicable USSG Section is 2J1.3. Where the offense involved perjury to a

   criminal offense, §2J1.3 is cross-referenced to USSG §2X3.1 (Accessory After the Fact).

   Pursuant to USSG §2X31.1(a)(3)(A), Coleman’s Base Offense level is 30. The Base Offense

   level is then reduced by 3-levels for acceptance of responsibility, resulting in a Total Offense

   Level of 27. Coleman’s Criminal History is I. With a Total Offense level 27 and Criminal

   History category I, the sentencing guideline range is 70-87 months.

   III.   ANALYSIS

          The United States agrees with the defendant that a combination of Coleman’s early plea,

   age, participation in the crime and lack of criminal history justifies a sentence of probation only.

   The parties agree that a sentence of 1-year of supervised release well serves the purposes set

   forth in 18 U.S.C. §3553(a).

          In addition to the above, 18 U.S.C. §3553(a)(6) requires the Court, when contemplating

   the particular sentence to be imposed, shall consider the need to avoid unwarranted sentence

   disparities among defendants with similar records who have been found guilty of similar

   conduct. The United States believes Coleman’s criminal conduct in this matter is most similar to

   that of defendants Ashley Ross and Tanikqua Fuller. As the Court is aware, although Ross and

   Fuller pled guilty to different offenses, they both received sentences of probation (Ross

   sentenced to 2 years supervised release and Fuller sentenced to 1 year supervised release). ECF

   Nos. 1039 and 1045. Accordingly, in an effort to avoid a sentencing disparity the agreed upon

   sentence is appropriate.


                                                    2
Case 4:18-cr-00011-MFU-RSB Document 1186 Filed 01/23/20 Page 3 of 3 Pageid#: 10528




   IV.    EXHIBITS AND WITNESSES

          The United States does not intend to offer any exhibits or witnesses.

   V.     CONCLUSION

          For the reasons stated above, the United States recommends the following sentence: a

   period of supervised release of one-year, no fine and a special assessment of $100.


                                                  Respectfully Submitted,

                                                  THOMAS T. CULLEN
                                                  United States Attorney

                                                  /s/ Ronald M. Huber
                                                  Ronald M. Huber
                                                  Assistant United States Attorney
                                                  VA State Bar No. 31135
                                                  255 West Main Street, Room 130
                                                  Ron.Huber@usdoj.gov



                                    CERTIFICATE OF SERVICE

          I hereby certify that on January 23, 2020, I electronically filed the foregoing document

   with the Clerk of the Court using the CM/ECF filing system, which will send notice, and

   constitute service, of such filing to counsel of record.

                                                  /s/ Ronald M. Huber
                                                  Ronald M. Huber
                                                  Assistant United States Attorney




                                                     3
